
 The People of the State of New York, - 
againstLevan Petriashvili, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Sheryl L. Parker, J.H.O.), rendered February 10, 2016, convicting him, upon his plea of guilty, of disorderly conduct, and imposing sentence.




Per Curiam.
Judgment of conviction (Sheryl L. Parker, J.H.O.), rendered February 10, 2016, reversed, on the law, and accusatory instrument dismissed. 
As the People concede, in the absence of any record indicating that the adjudication of this criminal prosecution by a Judicial Hearing Officer (J.H.O.) was accompanied by the requisite statutory consent or "agreement of the parties" (CPL 350.20[1]), the conviction obtained below lacked an "essential jurisdictional predicate" (see People v Holt, 182 Misc 2d 919, 920 [1999], quoting Batista v Delbaum, Inc., 234 AD2d 45, 46 [1996]) and must be vacated. Since it does not appear that further proceedings on the disorderly conduct charge here involved would serve any useful penological purpose (see People v Burwell, 53 NY2d 849, 851 [1981]), we dismiss the accusatory instrument, a disposition unopposed by the People.  
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concurI concurI concur	
Decision Date: October 23, 2017










